                                                                            Exhibit D


                                                   Angeliina Lawson <angeliinalawson@gmail.com>



Certified Copies for 5:25-CV-04045
Tina Miller <Tina.Miller@kscourts.gov>                               Wed, May 14, 2025 at 3:55 PM
To: Angeliina Lawson <angeliinalawson@gmail.com>


 Ms. Lawson,


 I’m responding to the filing DESIGNATION OF RECORD FOR REMOVAL –
 5:25-CV-04045 via fax on May 13, 2025. In the document, you request “that
 this record be assembled and transmitted without further delay for inclusion
 in the federal case.”


 My office can provide certified copies of all official court records from AN-
 2020-DM-000131 to you for $160.65 (cash, money order or check).


 Upon payment of that amount, certified copies will be mailed to you via
 USPS for filing with the federal court.




 Regards,




 Tina Miller

 Clerk of the District Court

 Anderson County District Court

 PO Box 305

 Garnett, Kansas 66032-0305
Phone: 785-448-6886

Fax: 785-448-3230
